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                         IN THE SUPREME COURT OF THE STATE OF NEVADA


                  JOSE VALDEZ-JIMENEZ,                                 No. 76417
                  Petitioner,
                  vs.
                  THE EIGHTH JUDICIAL DISTRICT
                  COURT OF THE STATE OF NEVADA,
                  IN AND FOR THE COUNTY OF                                FILED
                  CLARK; AND THE HONORABLE
                  MARK B. BAILUS, DISTRICT JUDGE,
                                                                          JUN 1 3 2019
                  Respondents,                                          ELIZ.ASETH A. 13ROWN
                                                                      CLERK OF SUPREME COURT
                      and                                            BY
                                                                           DEPUTY CLERK
                  THE STATE OF NEVADA,
                  Real Party in Interest.
                  AARON WILLARD FRYE,                                  No. 76845
                  Petitioner,
                  vs.
                  THE EIGHTH JUDICIAL DISTRICT
                  COURT OF THE STATE OF NEVADA,
                  IN AND FOR THE COUNTY OF
                  CLARK; AND THE HONORABLE
                  JERRY A. WIESE, DISTRICT JUDGE,
                  Respondents,
                     and
                  THE STATE OF NEVADA,
                  Real Party in Interest.
                  NATHAN GRACE,                                        No. 76947
                  Petitioner,
                  vs.
                  THE EIGHTH JUDICIAL DISTRICT
                  COURT OF THE STATE OF NEVADA,
                  IN AND FOR THE COUNTY OF
                  CLARK; AND THE HONORABLE
                  MICHAEL VILLANI, DISTRICT
                  JUDGE,
                  Respondents,
                     and
                  THE STATE OF NEVADA,
                  Real Party in Interest.

SUPREME COURT
      OF
    NEVADA

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                                 ORDER REGARDING ORAL ARGUMENT

                             Petitioners have filed an emergency motion to continue oral
                 argument in this matter. Cause appearing, the motion is granted. The
                 argument currently scheduled for July 2, 2019, is vacated. As to petitioner
                 Jose Valdez-Jimenez, oral argument is rescheduled for Wednesday,
                 September 4, 2019, at 2:30 p.m. in Carson City. Petitioner and the real
                 party in interest will each be allotted 30 minutes for argument. The
                 argument shall be limited to 60 minutes.
                             It is so ORDERED.



                                                                                  C.J.




                 cc: Hon. Linda M. Bell, Chief District Judge
                      Hon. Mary Kay Holthus, District Judge
                      Hon. Jerry A. Wiese, District Judge
                      Hon. Michael Villani, District Judge
                      Civil Rights Corps.
                      Clark County Public Defender
                      Attorney General/Carson City
                      Clark County District Attorney
                      Eighth District Court Clerk




SUPREME COURT
      OF
   NEVADA
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